                        Case 4:16-cr-00049-BMM Document 62 Filed 11/22/16 Page 1 of 6

AO 2458 (Rev. 02/16) Judgment in a Criminal Case
                     Sheet 1



                                               UNITED STATES DISTRlCT COURT                                                         FILED
                                                                         District of Montana
                                                                                                                                    NOV 2 1 2016
                                                                                  )
                UNITED STATES OF AMERICA                                          )       JUDGMENT IN A CRIMINAL C~, U.S District Court
                                       v.                                         )                                                 District or Montana
                                                                                                                                       Great Foils
                      ZANE COLTIN CHANDLER                                        )
                                                                                          Case Number: CR 1649·GF·BMM·02
                                                                                  )
                                                                                  )        USM Number: 16350-046
                                                                                  )
                                                                                  )         Evangelo Arvaneles
                                                                                                                   ._----­
                                                                                  )       DeferuilUlt's Attorney
THE DEFENDANT:
III pleaded guilty to count(s)              1, 2 and 3 of the Superseding Information

o pleaded nolo contendere to count(s)                                                                               --'-~"'--
   which was accepted by the court,
o was found guilty on count(s)                 --~"--~-----~'                                                              -----_.,,-­
   after a plea of not guilty,

The defendant is adjudicated guilty of these offenses:

Title & Section                        N ature of Offense                                                           Off_n._ Ended      COllllt
 2! U,S,C, § 841(.~1), 18 U.$,C, § 2    Possession with Intent to Distribute Melhamphetamlna. Aiding end Abetting    2/11/2016           1
 18 U,S,C, § 3                          Accessory After the Fact                                                     2/10/2016          2
 18 U.S.C. §§ 1152, 81                  Conspiracy to Commit Arson of a Building                                     4/13/2016          3

       The defendant is sentenced as provided in pages 2 through                _.1~_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Aet of 1984,
o The defendant has been found not guilty on count(s)
III Count(s)       The Indictment                             Iii'! is    0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United Slates attorney for this district within 30 days ofany change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjud~mcO! arc fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances,




                                                                                                         -~==:::::::::..~.".--.,,-



                                                                                 Brian Morris, United States District Judge
                                                                                !'fame and Title {)( Judge


                                                                                 11/21/2016
                     Case 4:16-cr-00049-BMM Document 62 Filed 11/22/16 Page 2 of 6

AO 245B (Rev. 02116) Judgment in Criminal Case
                       Sheet 2 ~ Imprisonment

                                                                                                    Judgment - Pago/: _'1_ of   _   .._7~_.
DEFENDANT: ZANE COLTIN CHANDLER
CASE NUMBER: CR 16-49-GF-BMM-02

                                                           IMPRISONMENT
           The defendant is hereby committed to the eustody of the Federal Bureau QfPrisons to be imprisoned for a total
term of:

    80 months. This term consists of 80 months for Count 1. 60 months for Count 2. and 80 months for Count 3. to run
    coneu rrently.



      fl1 The court makes the following recommendations to the Bureau of Prisons:

    1. The defendant should participate in the BOP's 500-hour Residential Drug Treatment Program, if eligible. :;> The defendant
    should be housed at either the Sheridan, Oregon or Sandstone. Minnesota facility so he may be near his family.


      121 The defendant is remanded to the custody of the United Stales Marshal.

      o The defendant shall surrender to the United States Marshal for this district:
        o at                                  o a.m. 0 p.m. on                                        ..   -~   .. - - ­

           o as notified by the United States Marshal.
      o The defendant shall surrender for service of .sentence at the institution designated by the Bureau of Prisons:
           o before 2 p.m. on
           o as notified by the United States Marshal.
           o as notitied by the Probation or Pretrial Services Office.

                                                                 RETURN
I have exeeuted this judgment as follows:




           Defendant delivered on      "'-'-.-~.-~.---~                       ......­   ..   to

a                          ~~~~~ .. ~_ .. ' with a certified copy of this judgment.




                                                                         By
                       Case 4:16-cr-00049-BMM Document 62 Filed 11/22/16 Page 3 of 6

AO 245B {Rev. Q2/16)Judgment in a Criminal Case
                     Sheet j   Supervised Release
                                                                                                            Judgment   Page    3                7
                                                                                                                                     .of - - - - ­
 DEFENDANT: ZANE COLTIN CHANDLER
 CASE NUMBER: CR 16-49-GF-BMM-02
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 4 years. This term consists of 4 years for Counts 1 and 3, and 3 years for Count 2, to run concurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unla"fullx possess a controlled substance. The defendant shall refrain from anX unlawful use of a controlled
 substance. The defendant shall subini! to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter> as detcnnined by the court.
 D        The above drug testing condition is suspended~ based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if opplicalJle.)

 III      The defendant shall not possess a firearm: ammunition, destructive device} or any other dangerous weapon. (Check, if appHcable,)

 IZI The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Chec~ if "pphcob/c)

 D        The defendant shall complv with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as direc.ted by the probatIOn offi~er1 the Bureal! of Prisons, or any state sex offender registration agency in which he or she resides,
          works, (s a student, or was convicted of a quallfYmg otfense. (Check, ifupplirobfe.)

 D        The defendant shall participate in an approved program fot domcstic violence. (Check, if applicbhJe.)
         If this judgment imposes a fine or restittltion~ it is a condition ofsupervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by thi, .,",urtas well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the pennission of the court or probatIon offic-er;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shaH work regularly at a !awful occupation, unless exeuscd by the probation officer tor schooling~ training. or other
           acceptable reasons;
   6)      the defendant shall notilY the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use~ distribute, or administer any
           controned substance or any paraphernalia related to any eontrolled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any (:1ersons enga&ed in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probatIOn officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           oontraband observed in plain view of the probation officer;                                                                            ~
  11)      the defendant shaU notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~f~ndant shall not enter into any agrcement to act as an infonner or a special agent of a law enforcement agency without thc
           pemnSSlon of the court~ and
  13)      as directed by the probation officer. the defendant shall notilY third parties of risks that may be occasioned by the defendant's criminal
           record or ,p-crsonal history or characteristics and shall penn it the probation officer to make such notifications and to oonfirm the
           defendant s compliance with sueh notification requirement.
                     Case 4:16-cr-00049-BMM Document 62 Filed 11/22/16 Page 4 of 6
AO 245B (Rev, 02/16) Judgment in a Criminal Case
          Sheet 3C   Supervised ReJease
                                                                                             Judgment· Page   ~4_ of       7
DEFENDANT: ZANE COLTIN CHANDLER
CASE NUMBER: CR 16-49-GF-BMM-02

                                          SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall participate in and complete a program of sUbstance abuse treatment as approved by the United
 States Probation Office, until the defendant is released from the program by the probation office. The defendant is to pay
 part or all of the cost of this treatment, as directed by the United States Probation Office.

 2. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
 Probation Office, until such time as the defendant is released from the program by the probation office. The defendant is to
 pay part or all of the cost of this treatment, as directed by the United States Probation Office.

 3. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol consumption only.

 4. The defendant shall participate in SUbstance abuse testing, to include not more than 104 urinalysis tests, not more than
 104 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 5. The defendant shall make a good faith effort to obtain a G.E.D. or high school diploma within the first year of
 supervision.

 6. The defendant shall comply with Violent Offender Registration requirements for convicted offenders in any state in which
 the defendant resides.

 7. The defendant shall have no contact with victims in the instant offense.

 8. The defendant shall not Ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana andlor
 synthetic stimulants that are not manufactured for human consumption, for the purpose of altering his mental or physical
 state.

 9. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription. This condition supersedes standard condition number 7 with respect to marijuana only.

 10. The defendant shall submit his person. residence, vehicles, and papers, to a search, with or without a warrant by any
 probation offICer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
 submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
 subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
 examination.
                         Case 4:16-cr-00049-BMM Document 62 Filed 11/22/16 Page 5 of 6
AO 2458 (Rev. 02!l6) Judgment in a Criminal Case
         Shee1 5   Cnrrunal Monetary Penalties
                                                                                                                Judgment     Page    5
 DEFENDANT: ZANE COLTIN CHANDLER
 CASE NUMBER: CR 1fi49-GF-BMM-02
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                              Fine                                 Restitution
 TOTALS             51    300.00                                              $   WAIVED                           $       N/A


 D    The determination of restitution is deferred until ____ ' An Amenckd Judgment in a Criminal Case (AO 245q will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, eaeh payee shall receive an approximately. rroportioned payment, unless specified othetwise in
      the priority order or percentage payment column below. However, pursuant to 18 1 .S.c. § 3664{i), all nonfederal victims must be paid
      before the [Jnited States is paid.




TOTALS                                $                            0.00               $                     0,00
                                                                                          -------
o      Restitution amount ordered pursuant to plea agreement $
                                                                                  ----.--­
o      The defendant mUst pay interest on restitution and a fine of more than $2~500t unless the restitution or fine is paid in full before the
       fifteenth day allcc the date of the judgment, pursuant to 18 U.S.C. § 3612(1), All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g}.

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the         D       fine       D   restitution,

       D    the interest requirement for the        D   fine       D      restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, I 10k and 113A ofTill. 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.                                       .
                      Case 4:16-cr-00049-BMM Document 62 Filed 11/22/16 Page 6 of 6
AO 245B (Rev. 02l16)Judgmeru in a Criminal Case
        Sheet 6 - Sehedule of Payments
                                                                                                         Judgment .. ~ Page   6     of        I
 DEFENDANT: ZANE COLTIN CHANDLER
 CASE NUMBER: CR 16-49·GF·BMM·02

                                                     SCHEDULE OF PAYMENTS

 Hav lng assessed the defendant's ability to pay, payment of the IDtal criminal monetary penalues is due as follows:

 A     D      Lump ,urn payment 0[$                           due immediately ~ batanee due

              o    not later than                                  ~ or
              D    in accordanee --=D:~~~--=-:::--:D= E, or                 D Fbelow; or
 B     D Payment to begin immediately (may be combined with               DC,        D D, ar      D F below); or
 c     0      Payment in equal                   (e.g" week{v. monlhiy. quarterly) installments of $   ~. _ _ _ ~ __ over a period of
             _ _ _ ~ _ _ (e.g, months oryears). to commence       ___ ~~_ (e.g., 30 or 60 da}'s) after the date of this judgment; or

 D     D Payment in equal _ _ _ _ _ _ (e,g" weekly, monthly, quarterly) installments of $                 _~~ _ _ _ ~~ __ over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisorunent to a
              term of supervision; or

 E     0      Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
              imprisonment The court wiH set the payment plan based on nn assessment of the defendant's abliity to pay at that time; or

 F     121    Spedal instructions regarding the payment of crimioal monetary penalties;
               Special assessment shall be immediately due and payable~ While incarcerated, criminal monetary penalty
               payments are due during imprisonment at the rate of not less than $25 per Quarter, and payment shall be through
               the Bureau of Prisons' Inmate Financial Responsibility Program, Criminal monetary payments shall be made to
               the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
               Falls, MT 59404 "Assessment Zane Coltin Chandler",

 Unless the court has expressly ordered otherwise, ifthis judgn:tent imposes imprisonmen~ payment ofcriminal monetary penalties is duedurin~
 the period ofimrrisonment. All criminal monetary penalties, exeept those payments made through the Federal Bureau of Prisons
 Inmate Financia Responsibility Program, are made to the clerk of the court.         •

 The defendant sha.H receive credit for an payments previously made to¥r'ard any criminal monetary penalties imposed,




 D    Joint and Several

      Delendant and Co·Delendant Names and Case Numbers (Including deftndant number), Total Amount, Joint and Sever.l Amount,
      and corresponding payee, ifappropriate,




D     The defendant shall pay the cost af prosecution,

D     The defendant shall pay the lollowing court cost(s):

D     The defendant sh.ll forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the follOWing order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) cammunity restitution, (7) pen.!ties, and (8) costs, including cost of prosecution and court costs,
